             Case 1:17-cr-00154-TSE Document 1 Filed 06/21/17 Page 1 of 1 PageID# 1

 AO 91 (Rev. 11/11) Criminal Complaint


                                     United States District Court                                        ,
                                                              for the
                                                                                                                                  •/' /
                                                Eastern District of Virginia
                                                                                                                     2 I 201/
                                                                                                                                  •IJ:
                                                                                               I
                  United States of America
                                V.


                KEVIN PATRICK MALLORY
                                                                        Case No. 1:17-MJ-2.SS



                           Defendant(s)
                                                                        FILED UNDERSEAL
                                             CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief
Onorabout the date(s) of April 1. 2017 through May 31. 2017 inthe county of                              Loudoun                inthe
       Eastern         District of        Virginia           , the defendant(s) violated:
             Code Section                                                 Offense Description
18U.S.C.§1001                             Making materially false statements to the FBI
18U.S.C.§794                              Gathering or delivering defense information to aid a foreign govemment




          This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT




          Sf Continued on the attached sheet.



          Reviewed by AUSA/SAUSA:                                                       f Complainant's signature


          F USA JOHN GIBBS                                                        Stephen Green, Special Agent FBI
                                                                                            Printed name and title


Sworn to before me and signed in my presence.
                                                                                                   /s/
                                                                                            '•roll BuchaS^J^
Date:           June 21,2017                                                           'ales Magistrate T„jgp
                                                                                              Judge's signature

City and state:                                                             Theresa C. Buchanan, U.S. Magistrate Judge
                                                                                            Printed name and title
